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     Filing # 105044126 E-Filed 03/17/2020 05:42:10 PM




             IN THE COUNTY COURT OF THE 15TH
             JUDICIAL CIRCUIT IN AND FOR
             PALM BEACH COUNTY, FLORIDA


             CASE NO.:


             DONNA GREENSPAN SOLOMON and
             MARK SOLOMON,


                     Plaintiffs,


             vs.



             STATE FARM FLORIDA INSURANCE
             COMPANY,


                     Defendant.



                                                        COMPLAINT


                     Plaintiffs, DONNA GREENSPAN SOLOMON and MARK SOLOMON, by and through


             the undersigned counsel, hereby sue Defendant, STATE FARM FLORIDA INSURANCE


             COMPANY, and state as follows:


                                               GENERAL ALLEGATIONS


                     1.     This is a claim for monetary damages in excess of $15,001.00 but less than


             $30,000.00, exclusive of all interest, costs and attorney's fees.

                    2.      Plaintiffs are the owners of a home located at


                                                           and are otherwise sui juris.


                    3.      Defendant is in the business of selling homeowner's insurance to Florida


            homeowners like Plaintiffs, and is otherwise sui juris for purposes of this action.


                    4.      Venue is appropriate in Palm Beach County, Florida because the subject loss


            occurred in Palm Beach County, Florida.




FILED: PALM BEACH COUNTY, FL, SHARON R. BOCK, CLERK, 03/17/2020 05:42:10 PM
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              5.      Defendant issued        an   insurance policy, policy number                  ("the

     Policy"), to Plaintiffs which provided insurance coverage to Plaintiffs' home.       A copy of the


     Policy is attached hereto as Exhibit "A."


             6.      The Policy was in full force and effect from January 1 1, 2019 through January 11,


     2020.


             7.      The Policy provided insurance coverage for damage to or the physical loss of


     property located at


             8.      On or about December 18, 2019, a roof leak caused substantial damage to


     Plaintiffs' property located at




             9.      Plaintiffs gave timely notice of the subject loss and Defendant opened the claim


     under claim number


             10.     On or about March 13, 2020, Defendant advised it was denying payment of


     Plaintiffs' claim.


             11.     As of the date of this lawsuit, Defendant has failed to pay the covered losses to


     Plaintiffs' property and other coverage provided under the Policy, notwithstanding the fact that


     demand was made for payment.


             12.     Plaintiffs have performed and complied with all applicable conditions precedent


     to the filing of this lawsuit or any applicable conditions precedent were waived.


                                  COUNT T - BREACH OF CONTRACT


             13.    Plaintiff alleges and avers all of the allegations contained in paragraphs 1 through


     12 above as if fully set forth herein.


             14.    Based on the Policy, Defendant was required to pay for the cost to reimburse,




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     repair or replace the subject property that was damaged by the roof leak.


               15.    Defendant's failure to pay Plaintiffs' claim constitutes a breach of the insurance


     Policy.


               16.    As a direct result of Defendant's breach of contract, Plaintiffs have sustained


     economic damages, including but not limited to: damaged and destroyed property, repair bills


     incurred and to be incurred, etc., all of which are covered under the Policy.


               17.    As a result of Defendant's breach, Plaintiffs were forced to retain undersigned


     counsel and have reached an agreement with them regarding the payment of attorney's fees and


     case expenses.     Accordingly, Plaintiffs are entitled to reasonable attorney's fees pursuant to §


     627.428, Fla. Stat., or other applicable statute(s).


               WHEREFORE,        Plaintiffs,   DONNA        GREENSPAN          SOLOMON    and   MARK

     SOLOMON, respectfully request this Court award judgment for damages, interest on amount


     due based on the Policy, attorney's fees and costs, and demand a trial by jury on all issues so


     triable as a matter of right by jury.


               Dated this 17th day of March, 2020.

                                                     Respectfully submitted,


                                                     KAPLAN LAW GROUP, P.A.
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                                                     By: /s/Michael Kaplan
                                                            Michael D. Kaplan, Esquire
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